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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 17-CV-60380-DIMITROULEAS

 LUIS SIERRA,

        Plaintiff,

 vs.

 YEUNG CORPORATION d/b/a DRAGON
 GATE CHINESE RESTAURANT,

        Defendant.


 ____________________________________/

                                   NOTICE OF SETTLEMENT

        Plaintiff, LUIS SIERRA, (hereinafter referred to as “Plaintiff”) by and through undersigned

 counsel, hereby notifies the Court that the Plaintiff and Defendant, YEUNG CORPORATION

 d/b/a DRAGON GATE CHINESE RESTAURANT, (hereinafter referred to as “The Parties”) are

 in the process of executing the Settlement Agreement and request ten (10) days to finalize the

 settlement and file for dismissal of this matter. The Parties request that the Court stay all matters

 and pending deadlines in this Action and grant the Parties ten (10) days to finalize their written

 settlement agreement and to submit the appropriate notices and/or motions to the Court regarding

 dismissal of the Action.

                                                       Respectfully submitted,

                                                       THE ADVOCACY GROUP
                                                       Counsel for Plaintiff
                                                       333 Las Olas Way, CU3, Suite 311
                                                       Fort Lauderdale, FL 33301
                                                       Telephone: (954) 282-1858
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                                                     _/s/ Jessica L. Kerr____
                                                     Jessica L. Kerr, Esq.
                                                     Florida Bar No. 92810

                                                     _/s/ Jaci R. Mattocks____
                                                     Jaci R. Mattocks, Esq.
                                                     Florida Bar No. 115765

                                 CERTIFICATE OF SERVICE

        I certify that on March 22, 2017, I electronically filed the foregoing document with the

 Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

 day on counsel of record in this action via email transmission and via transmission of Notices of

 Electronic Filing generated by CM/ECF.

                                                     _/s/ Jessica L. Kerr____
                                                     Jessica L. Kerr, Esq.
                                                     Florida Bar No. 92810
